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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

CARLA HARVASTY,

              Plaintiff,
       v.                                          CASE NO.:

RESURGENT CAPITAL SERVICES,
L.P.,

          Defendant.
____________________________________/

                            NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT on this date, Defendant Resurgent Capital

Services, L.P., by and through its undersigned counsel, hereby removes the above-

captioned matter to the United States District Court for the Middle District of

Florida, Orlando Division, from the County Court of the Ninth Judicial Circuit in

and for Osceola County, Florida and in support thereof avers as follows:

      1.     Defendant is a defendant in a civil action originally filed on or about

August 9, 2021, in the County Court of the Ninth Judicial Circuit, in and for Osceola

County, Florida, titled Carla Harvasty v. Resurgent Capital Services, L.P. and

docketed to Case No. 2021-CC-2766.

      2.     This removal is timely under 28 U.S.C. § 1446(b) as Defendant

received service of process on August 13, 2021.



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      3.     Pursuant to 28 U.S.C. § 1446, attached hereto are copies of all process,

pleadings and orders received by Defendant in the state court action.

      5.     The United States District Court for the Middle District of Florida,

Orlando Division, has original jurisdiction over this action pursuant to 28 U.S.C. §

1331, in that Plaintiff has filed claims against Defendant alleging violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.

      6.     On this date, Defendant provided notice of this Removal to counsel for

Plaintiff and to the County Court of the Ninth Judicial Circuit in and for Osceola

County, Florida.

      WHEREFORE, Defendant respectfully removes this case to the United States

District Court for the Middle District of Florida.

                                 Respectfully submitted,

                                 MESSER STRICKLER, LTD.


                          By:    /s/ John M. Marees, II
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                               Counsel for Defendant

Dated: September 1, 2021


                         CERTIFICATE OF SERVICE

      I certify that on September 1, 2021, a true copy of the foregoing document

was served as follows:

Via U.S. Mail Postage Prepaid:
Jibrael S. Hindi, Esq.
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Dated: September 1, 2021




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